Case 8:15-cv-02779-MSS-EAJ Document 25-1 Filed 04/21/16 Page 1 of 5 PagelD 121

SETTLEMENT AGREEMENT AND RELEASE

This Settlement Agreement and Release (“Agreement”) is entered into by and
between Timothy Manus (“Manus”) and G48 Youth Services, LLC (°G48”) {each may be
referred to hercinafter individually as a “Party” or collectively as the “Parties”).

WITNESSETH
WHEREAS, Manus was formerly employed by G48; and

WHEREAS, Manus filed a lawsuit, Jerry Torres, Timothy Manus, and Gene Rushing,
on behalf of themselves and ail others similarly situated, v. G4S Youth Services, LLC, Case
No. 8:15-cy-02779-MSS-EAJ, pending in the United States District Court for the Middle
District of Florida (the “Action”); and

WHEREAS, G4S denies the allegations made in the Action, and denies any and all
liability to Manus or any other party to the Action or otherwise included person; and

WHEREAS, Manus has voluntarily agreed to completely resolve with G48 the Action
and any other claims he otherwise asserted or could have asserted.

 

NOW, THEREFORE, in consideration of the payment of monies and in further
consideration of the promises, covenants, and releases hereinafter set forth, the reccipt and
sufficiency of which ts specifically acknowledged, the Parties hereby agree to address and
resolve this matter as follows: L

l. Consideration. G4S agrees to pay, and Manus and his attomeys agree to
accept, the total sum of Six Thousand Nine Hundred and Thirty-Seven Dollars and Fifty
Cents ($6,937.50) (the “Settlement Payment.”). The Settlement Payment will be divided
as follows: (1) One Thousand Three Hundred and Seventy-Five Dollars and No Cents
($1,375.00), minus all applicable withholdings and deductions, made payable to Manus for
alleged unpaid wages, for which G48 will issue Manus a W-2; (2) One Thousand Three
Hundred and Seventy-Five Dollars and No Cents ($1,375.00), made payable to Manus for
atleged liquidated damages, for which G45 will issue Manus a 1099; and (3) Four Thousand
One Hundred Eighty Seven Dollars and Fifty Cents ($4,187.50), made payable to Manus’
counsel, Wenzel Fenton Cabassa, P.A., representing attorneys’ fees and costs for the Action,
for which G4S will issue Wenzel Fenton Cabassa, P.A. a form 1099. G48 will deliver
checks in the amounts set forth above to Manus’ counsel within fifteen (15) business days
after {and only in the event that) all of the following conditions have occurred: 1) the
execution of this Agreement and General Release by Manus; 2) the expiration of the 7 day
revocation period set forth below; and 3) the Court’s approval of this Agreement and the
dismissal of the Civil Action. For avoidance of doubt, in the event any of the foregoing
conditions do not occur all of G4S’s obligations under this Agreement, including but not
limited to any payment obligations herein, will be rendered null and void.

2. Indemnification. Manus agrees that he will pay and be fully responsible
for, and indemnify and hold G4S and the Releasees described in Paragraph 3 of this
Agreement, harmless ftom any liability for any state, federal or local taxes, penalties or fines

 

 

Page | of 5 f - EXHIBIT | -

4

 
Case 8:15-cv-02779-MSS-EAJ Document 25-1 Filed 04/21/16 Page 2 of 5 PagelD 122

assessed against G45 that result from Manus’ failure to pay any taxes for which he is or was
obligated to pay by law. Manus understands and agrees that G4S is not providing tax nor
legal advice, nor making representations regarding tax obligations or consequences, if any,
related to this Agreement.

3, Release of Claims. In further consideration of the payment G4S has agreed to
provide under this Agreement, Manus hereby releases and forever discharges G4S and its
operating units, licensees, subsidiaries, parent companies, holding companies, related
companies, affiliates, owners, controlling entities, predecessors, successors, assigns, benefit
plans and programs, agents, attorneys, insurers, vendors, officers, directors. and employees
(collectively, the “Releasecs”) from any and all demands, claims, liabilities, agreements,
damages, losses, or expenses (including attorneys’ fees and costs actually incurred) of any
nature whatsoever, whether known or unknown (hereinalter “Claim” or “Claims’’), that he
has, may have had, or may later claim to have had against any of them for personal injuries,
losses or damage to personal property, breach of contract (express or implied), breach of any
cavenant of good faith (express or implied), or any other losses or expenses of any kind
(whether arising in tort or contract or by statute) resulting from his employment with G48, or
any other agreement, contract, circumstance ar event arising on or prior to his execution of
this Agreement.

This release includes, but is not limited to, any claims for back pay, liquidated
damages, compensatory damages, or any other losses or other damages to Manus or his
property resulting from any claimed violation of local, state, or federal law, including, for
example (but not limited to), claims arising under Title VII of the Civil Rights Act of 1964
and the Civil Rights Act of 1991, 42 U.S.C. § 2000e ef seqg.; 42 U.S.C. §1981; the Americans
with Disabilities Act of 1990, 42 U.S.C. § 12101 ef seqg., amended by the Americans With
Disabilities Act Amendments Act of 2008; the Age Discrimination in Employment Act of
1967; the National Labor Relations Act; the Uniformed Services Employment and
Reemployment Rights Act of 1994, 38 U.S.C. § 4301 ef seqg.; the Employee Retirement
Income Security Act of 1974, 29 U.S.C. §& 1001 ef seg. the Worker Adjustment and
Retraining Notification Act, 29 U.S.C. § 2101 ef seg.; the Internal Revenue Code of 1986;
the Family and Medical Leave Act of 1993, 29 U.S.C. § 260] et seq.; the Fair Labor
Standards Act, 29 U.S.C. § 213 et seg. (including the Equal Pay Act of 1963); the Fair Credit
Reporting Aci, 15 U.S.C. § 1681, the Patient Protection and Affordable Care Act 42 U.S.C. §
18001 ef seg; the Genetic Information Nondiscrimination Act of 2008, 42 U.S.C. 2000ff The
False Claims Act of 1986, 31 U.S.C. § 3729 er seg.; the Florida Civil Rights Act; Florida’s
minimum wage law; all claims under any other applicable Florida law; and any other Claims
under federal, state, or local law, including but not limited to claims of breach of contract or
duty, promissory estoppel, fraud, misrcpresentation, intentional or negligent infliction of
emotional distress, wrongful or retaliatory discharge, defamation, slander, invasion of
privacy, negligence, assault and battery. The foregoing release of Claims expressly includes
a waiver of any right to recovery for the Claims released herein in any and all private causes
of action and/or charges and/or in any and all complaints filed with, or by, any governmental
agency and/or other person or tribunal.

 

 

 
Case 8:15-cv-02779-MSS-EAJ Document 25-1 Filed 04/21/16 Page 3 of 5 PagelD 123

Manus expressly agrees and understands that this release is a GENERAL RELEASE.
Manus understands that by executing this Agreement, he is giving up any claims he may
have against the Releasees for such things as employment discrimination and wrongful
discharge, among others, regardless of whether he had ever asserted such claims before his
execution of this Agreement and regardless of whether he knew he had such claims before
his execution of this Agreement. If Manus files any claims, complaints, charges, grievances,
arbitration demands or lawsuits against any of the Releasees for claims which are released by
this Paragraph, he agrees that he will pay all fees, costs and expenses of defending against
such claims, complaints, charges, grievances, arbitration demands or lawsuits incurred by the
Releasees, including reasonable attorneys’ fees.

4. — All Hours Worked During Employment, Manus agrees that he has been paid
for all hours worked and all overtime and minimum wage compensation while employed by
G45 and agrees that G4S does not owe him any other monies with regard to compensation
associated for hours worked under the Fair Labor Standards Act (“FLSA”).

5. Covenant Not to Sue. Manus represents and agrees that he has not filed or
raised any charges, complaints, claims, lawsuits (other than the Action), grievances,
arbitration demands or actions against any of the Releasees with any federal, state, or local
court or agency. Manus agrees that, except to the extent such right may not be waived by
law, he will not commence any administrative or legaj action sceking relief for any Claim
released or waived by this Agreement.

G. Re-employment Prohibited. Manus agrees that G4S and the Releasees have no
obligation to reinstate, re-hire, or re-employ him in the future. Manus agrees not to apply for
or accept an offer of employment (including any temporary, independent contractor, full-
time, or part-time work) with G4S or any of the other Releasees and Manus expressly
consents that G4S’s or the Releasees’ decision not to hire him does not constitute
discrimination or otherwise unlawful conduct.

7. Medicare and Medicaid Representation. Manus represents and warrants he
is not, nor has he ever been, a Medicare beneficiary and that he is not currently receiving
Social Security Disability benefits. Manus further represents and warrants he has not applied
for Social Security Disability Benefits. Manus understands that the Medicare Secondary
Payer Act (42 U.S.C. 1395y(b)) applies to any personal injury settlement involving a
Medicare beneficiary. As part of the Act, Manus has an obligation to verify entitlement and
resolve conditional. payment, and the Released Parties have an obligation to report. Manus
represents and warrants Medicare has made no conditional payments for any medical
expense or prescription expense related to the Action. As part of this settlement, Manus
agrees to indemnify, defend and hold the Relcased Partics harmless against and from any
such Medicare reimbursement claims. Manus also represents and warrants he is not, nor has
she ever been, a Medicaid recipient. Manus further represents and warrants Medicaid has not
made any payment for any medical expense or prescription expense related to the Action. As
part of this settlement, Manus agrecs to indemnify, defend and hold the Released Parties
harmless against and from any such Medicaid reimbursement claims.

Page 3 of 5

 

 
Case 8:15-cv-02779-MSS-EAJ Document 25-1 Filed 04/21/16 Page 4 of 5 PagelD 124

8. Neutral Reference and Non-Disparagement. G4S agrees to provide a neutral
reference to employment reference seckers, specifically G4S will disclose only Manus’ dates
of employment, pay rate and job title. All reference requests must be directed to the
Corporate Human Resource Administrator, Paul Brown, at (813) 514-6275. The Parties agree
that any representations by any other individuals or entities shall not be those of Gd4S.
Manus further represents that he will not, cither orally or in writing, make defamatory or
otherwise injurious statements concerning G4S (including G4S8’s employees). This provision
is a material, essential and indispensable condition of this Agreement.

9. Return of G4S Property. Manus represents and warrants that he has returned
all property of G4S, including but not limited to all G4S electroni¢ equipment, uniforms,
identification badges, credit cards, keys, documents (in paper and electronic format), in his
possession, custody or control.

10. Entire Agreement, This Agreement contains the entire agreement between the
Parties regarding the matters set forth herein. No. amendment or modification of the
Agreement will be valid or binding unless made in writing and signed by all Parties.

1]. No Admission of Liability, It is understood and acknowledged by all Parties
that this is a settlement and compromise of disputed claims and is not and cannot be
considered as an admission of tiability or wrongdoing by any Party hereto; to the contrary, it
is understood and acknowledged that all Parties expressly deny any liability to each other.

12. Choice of Law. This Agreement shall be construed as a whole according to its
fair meaning and shall be interpreted. governed, and construed under the laws of the State of
Florida without reference to its choice of law rules. The Parties intend this Agreement to be
valid and binding in all respects. In the event a Party seeks to enforce the terms of this
Agreement, the prevailing Party shall be entitled to attorneys’ fees and costs, damages, and
injunctive relief, if applicable.

13. Severability. The Parties agree that the terms of this Agreement are
contractual and noi merely recitals. Should any portion be found by a court of law to be
invalid, void, illegal, contrary to law or public policy, or otherwise unenforceable, it is
expressly agreed by the Parties that only such portion will be affected and the remainder of
the Agreement will stand in full force and effect as if such unenforceable provision had never
been contained herein,

14. Waiver. Any failure by the Parties on one or more occasions to enforce or
require strict compliance with any of the terms and conditions of this Agreement will not
constitute a waiver of any such terms or conditions at any future time and will not prevent

any Party from insisting on strict compliance with such terms and conditions at a later time.

15, Release of Age Discrimination Claims

Pave 4 of 5

 

 
Case 8:15-cv-02779-MSS-EAJ Document 25-1 Filed 04/21/16 Page 5 of 5 PagelD 125 ,

a. Time to Consider. Manus is advised that he has twenty-one (21) days to consider
this Agreement. Manus has been hereby advised in writing to consult with an attorney prior
to executing if and Manus acknowledges that, prior to signing below, he did, in fact, consult
with an attorney. Having elected to execute this Agreement, to fulfill the promises set forth
herein, and to receive thereby the consideration set forth in Paragraph | above, Manus freely
and knowingly, and after due consideration, enters into this Agreement intending to waive,
settle, and release all claims he has or might have against G4S and the Releasccs.

b. Time to Reyoke. Manus understands that he may revoke this Agreement for a
period of seven (7) calendar days following the day he executes it. Any revocation within
this period must be submitted, in writing, to G4S’s counsel, Nathan Paulich, via the
following formats: (1) electronic mail at npaulich@tsghlaw.com; or (2) overnight delivery
service {UPS or FedEx) to Nathan Paulich, 207 N. Franklin Street, Sutte 1600, Tampa.
Florida 33602, Manus understands that this Agreement is not effective until the expiration of
such seven (7) day period and that if he does not revoke the Agreement during that period.
this Agreement shall become effective the day following the expiration of the revocation
period.

16. Counterparts. This Agreement may be signed in counterparts.

IN WITNESS WHEREOF the Parties have hereunto set their hands and affixed their
seals the day and year first above written as an expression / intent to be bound by the

foregoing terms of this Agrecment. fh Lo

 
  

  

 

x bo POOLE
wee tr a AY ma
“TIMOTHY MANUS

Date: Sl

G48 YOUTH SERVICES, LLC

1

BY John Somes”
Its: ACS Simi Sec retin

Date: 4Y-20-/6

 

 
